             Case 3:22-cr-01437-KC Document 17 Filed 08/24/22 Page 1 of FILED
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                                                                                      August 24, 2022
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                        CLERK, U.S. DISTRICT COURT
                                                                                 WESTERN DISTRICT OF TEXAS
                                 El PASO DIVISION
                                 EL Paso
                                                                                     By:        DT
                                                                                                      Deputy
 UNITED STATES OF AMERICA,                    §
                                              §                  Case No:           EP:22-CR-01437-KC
        Plaintiff,                            §
                                              §   INDIC TMENT
 v.                                           §
                                              §
 GRANT MOSLEY                                 §   Dealing/ManufacturingFirearms Without a License
                                              §
        Defendant.                            §
                                              §   CT 2: 18 U.S.C. § 922(o) and 924(a)(2)—
                                              §   Transfer or Possess a Machinegun
                                              §
                                              §   Engagein the Business as a Manufacturer/Dealer ofNFA         Firearms
                                              §
                                              §
                                              §
                                              §
                                              §   CT 4: 26 U.S.C. § 5861(i) and 5871 —
                                              §   Receive or Possess a Firearm Which is notIdentified by a Serial
                                              §
                                              §
                                                  Notice of Government’s Demand for Forfeiture
THE GRAND JURY CHARGES:

                                        COUNT ONE
                      (18 U.S.C. § 922(a)(1)(A), 923(a), and 924(a)(1)(D))

       Beginning on or about June 1, 2022, and continuing through and including on or about

August 2, 2022, in the Western District of Texas, the Middle District of Florida, and elsewhere,

Defendant:

                                      GRANT MOSLEY,

not being licensed dealers, importers, or manufacturers of firearms within the meaning of Chapter

44, Title 18, United States Code, did willfully engage in the business of dealing, importing, or

manufacturing firearms, all in violation of Title 18, United States Code, Sections 922(a)(1)(A),

923(a), and 924(a)(1)(D).
             Case 3:22-cr-01437-KC Document 17 Filed 08/24/22 Page 2 of 4


                                          COUNT TWO
                                 (18 U.S.C. § 922(o) and 924(a)(2))

        Beginning on or about June 1, 2022, and continuing through and including on or about

August 2, 2022, in the Western District of Texas, Middle District of Texas, and elsewhere,

Defendant:

                                        GRANT MOSLEY,

did knowingly possess/transfer a machinegun, as defined in Title 26 United States Code, Section

5845(b), that is any weapon which shoots, is designed to shoot, or can be readily restored to shoot

automatically more than one shot without manual reloading by a single function of trigger;

including the frame or receiver of any such weapon, any part designed and intended solely and

exclusively, or combination of parts designed and intended for use in converting a weapon into a

machinegun, all in violation of Title 18, United States Code, Sections 922(o) and 924(a)(2).

                                                   THREE
                                   (26 U.S.C. § 5861(a) and 5871)

                                        ,        ,

                                                                                  Defendant:

                                        GRANT MOSLEY,

knowingly engaged in the business of manufacturing and dealing in firearms, namely:

machineguns as defined in Title 26, United States Code, Section 5845(b), without having paid the

special occupation tax required by Title 26, United States Code, Section 5801, and without having

registered as required by Title 26, United States Code, Section 5802, all in violation of Title 26,

United States Code, Sections 5861(a) and 5871.

                                                   FOUR
                                   (26 U.S.C. § 5861(i) and 5871)




                                                                                  Defendant:

                                                     2
          Case 3:22-cr-01437-KC Document 17 Filed 08/24/22 Page 3 of 4


                                         GRANT MOSLEY,

knowingly received and possessed firearm(s), to wit: eighteen (18) privately manufactured

machineguns as defined in Title 26 United States Code, Section 5845(b), that is a privately

manufactured firearm which shoots, is designed to shoot, or can be readily restored to shoot

automatically more than one shot without manual reloading by a single function of trigger, not

identified by a serial number as required by Chapter 53, of Title 26, all in violation of Title 26,

United States Code, Sections 5861(i) and 5871.

    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                                               I.
                         Forfeiture Statutes for Firearm Violations
          [18 U.S.C. §§ 922(a)(1)(A), and (o), and 924(a)(1)(D) and (a)(2), subject to
     forfeiture pursuant to 18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture
                                   by 28 U.S.C. § 2461(c)]

       As a result of the criminal violations set forth in Counts One and Two, the United States

gives notice to Defendant GRANT MOSLEY of its intent to seek the forfeiture of the properties

described below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. §

924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which states:

       Title 18 U.S.C. § 924. Penalties
       (d)(l) Any firearm or ammunition involved in or used in any knowing violation
       of subsection . . . (a), (l), and (o) . . . of section 922 . . . or knowing violation of
       section 924 . . . shall be subject to seizure and forfeiture . . . under the provisions
       of this chapter . . .

                                               II.
         Forfeiture Statutes for Unregistered Firearm Manufacturing Violations
     [26 U.S.C. § 5861(a) and (i), subject to forfeiture pursuant to 26 U.S.C. § 5872(a),
              made applicable to criminal forfeiture by 28 U.S.C. § 2461(c)]

       As a result of the criminal violation set forth in Counts Three and Four, the United States

gives notice to Defendant GRANT MOSLEY of its intent to seek the forfeiture of the properties




                                                    3
            Case 3:22-cr-01437-KC Document 17 Filed 08/24/22 Page 4 of 4


described below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and 26 U.S.C. § 5872(a),

made applicable to criminal forfeiture by 28 U.S.C. § 2461(c), which states:

         Title 26 U.S.C. § 5872(a). Forfeitures
         (a) Laws applicable- Any firearm involved in any violation of the provisions of
         this chapter shall be subject to seizure and forfeiture. . .




ASHLEY C. HOFF
UNITED STATES ATTORNEY



BY:
      Assistant United States Attorney




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